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                           IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF DELAWARE

 ARBUTUS BIOPHARMA CORPORATION                      )
 and GENEVANT SCIENCES GmbH,                        )
                                                    )
                  Plaintiffs,                       )
                                                    )
    v.                                              ) C.A. No. 22-252-MSG
                                                    )
 MODERNA, INC. and MODERNATX, INC.,                 )
                                                    )
                  Defendants.                       )

                                     NOTICE OF SERVICE

         PLEASE TAKE NOTICE that on April 3, 2024, the following documents were served on

KEModernaSpikevaxService@kirkland.com and the persons listed below in the manner indicated:

         1. Subpoena to Testify at a Deposition in a Civil Action directed to Flagship Pioneering,
            Inc.
         2. Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of
            Premises in a Civil Action directed to Flagship Pioneering, Inc.

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 Dated: April 4, 2024




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